                Case: 1:21-cv-06262
ILND 450 (Rev. 04/29/2016)                        Document
                           Judgment in a Civil Action        #: 16 Filed: 09/21/22 Page 1 of 1 PageID #:40

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Kevin Owen Burress,

    Plaintiff(s),
                                                                    Case No. 21-cv-6262
    v.                                                              Judge Martha M. Pacold

    Art Akiane LLC, et al.,

    Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which       includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


              other: Judgment is entered in favor of defendants Art Akiane LLC, Akiane Kramarik, Jeanlu
Kramarik, and Mark Kramarik, and against plaintiff Kevin Own Burress.

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge Martha M. Pacold on a motion



Date: 9/21/2022                                                 Thomas G. Bruton, Clerk of Court

                                                                /s/ Ruth O'Shea, Deputy Clerk
